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                       In the United States District Court
                            for the District of Kansas



United States of America,
          Respondent,

v.                                                Case No. 15-cr-20020-JAR-5
                                                  (related to 14-cr-20014,
                                                  15-cr-20006, 18-cv-02479)

Petsamai Phommaseng,
          Petitioner.


                 Motion to Take Custody of AVPC Hard Drives


      The Federal Public Defender asks the Court to order the Government to produce

the AVPC hard drives at issue in the United States v. Black litigation and as

described in the Court’s Findings of Fact and Conclusions of Law. 1 We also ask for

any related data not previously produced, such as records on chain of custody,

storage, physical access, and photographs, and any information necessary to access

the hard drives.

      The relevance and value of the AVPC is explained in the Court’s Findings of

Fact and Conclusions of Law in United States v. Carter, 16-cr-20032, D.E. 758 at

129-130. We seek to answer whether any data on the AVPC hard drives can be

restored. 2 This information may be relevant to whether the Government actually


1   Black, 16-cr-20032-JAR, D.E. 758 at 35.

2    Id. at 130-32.
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accessed video recordings of attorney-client communication or to identify whether

information was lost when the hard drives were wiped. 3

    Forensic Computer Expert Tami Loehrs, who testified at the evidentiary hearing

in Black, 4 has agreed to examine the unallocated space on the hard drives to

determine how much data was overwritten and whether any data is recoverable. 5

The government does not object to releasing the hard drives to the FPD and, if the

Court grants this motion, will work with the FPD to transfer custody.

    WHERFORE, the Federal Public Defender asks the Court to grant this motion

and order the government to produce hard drives and related material within ten

days.




3Id.132 (“the Court cannot make a finding that metadata or logging information, to
the extent it existed in the first place, cannot be restored. Thus, spoliation sanctions
are not available under Rule 37(e) for the destruction of information on the AVPC on
this record.”) (emphasis added).

4 D.E. 758 at 35-36 (“The Court credits the testimony of Tami Loehrs, a forensic
computer expert, whose opinion was unrefuted. Loehrs testified that the only reason
to have two hard drives on a computer is to use one hard drive for the operating
system and one to store data.

5See 758 at 131, (“Loehrs, who is a computer forensics expert, further explained the
concept of unallocated space on the hard drive and opined that data on a hard drive
that has been reformatted is not necessarily unrecoverable. When asked if ‘it [is]
common to recover either partial or entirely intact files from unallocated space,’
Loehrs replied, ‘[d]o it every day.’’).
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                                  Respectfully submitted,



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                             CERTIFICATE OF SERVICE

        I certify that on 08/19/2019, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system which will send a notice of electronic
filing to all interested parties and:

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                                                s/ Melody Brannon
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